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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
  vs.                                               §            Case No. 4:07cr42
                                                    §            (Judge Schell)
 MICHAEL ALLEN KAMIN (17)                           §

                               REPORT AND RECOMMENDATION
                            OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release. After the

 District Judge referred the matter to this Court for a report and recommendation, the Court conducted a

 hearing on January 21, 2014, to determine whether Defendant violated his supervised release.

        On February 26, 2008, Defendant was sentenced by the Honorable Richard A. Schell to fifty-

 three (53) months’ custody followed by five (5) years of supervised release for the offense of

 Conspiracy to Possess with Intent to Distribute Heroin. On October 5, 2011, Defendant completed

 his period of imprisonment and began service of his supervised term.

        On January 9, 2014, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated several of his conditions of

 supervised release. Violation allegations three through seven were dismissed by the Government.

 The petition also alleged violation of the following mandatory condition: the defendant shall refrain

 from any unlawful use of a controlled substance. The petition also alleged violation of the following

 standard condition: the defendant shall refrain from excessive use of alcohol and shall not purchase,

 possess, use, distribute, or administer any controlled substance or any paraphernalia related to any

 controlled substances, except as prescribed by a physician.

        The petition alleges that Defendant committed the following acts with regard to the

 remaining violations: (1) On December 3, 2013, Defendant submitted a urine specimen which tested
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     positive for opiates. He admitted verbally and in writing that he used a “pain killer” which may have

     caused the positive results. Defendant reported the medication was not prescribed to him. The urine

     specimen confirmed positive for morphine and codeine opiates which is consistent with heroin use;

     and (2) On December 16, 2013, Defendant submitted a urine specimen which tested positive for

     opiates and methamphetamine. Defendant denied methamphetamine use and reported the opiates

     could have been remnants from the previous use of “pain killers” which were not prescribed to him.

     The specimen confirmed positive for morphine opiates, which is consistent with heroin use.

            Prior to the Government putting on its case, Defendant entered a plea of true to the remaining

     violations.

                                          RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

.    Prisons, Seagoville Unit or Fort Worth Unit.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.
          SIGNED this 21st day of January, 2014.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
